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                        Exhibit M
NY Works:
Overview of the Preliminary Port
Authority 10-Year Capital Plan and
Current Reform Initiatives




June 2012
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 Backdrop
 The Great Recession and unacceptable levels of unemployment in the region
 New York Building Congress 1st Qtr Report on Construction Employment states that
  employment in the NYC construction industry fell to its lowest level since 1999
      Construction employment was down 3% from the 1st Qtr of 2011 in NYC
 Billions of dollars of infrastructure investment required in the State and region
 Port Authority doesn’t itself have resources to make all required investment so private
  capital must be explored and priorities selected
 Port Authority a solid credit but is significantly more leveraged than 10 years ago.
  Ratings: S&P: AA- (Stable), Moody’s: Aa2 (Negative), Fitch: AA- (Stable)
 Tolls have increased significantly in excess of CPI and growth in Median Family Income
  over last 10 years
 Burden on Stated Island commuters
 Direction from Governor Cuomo to Reform, Rationalize, and Repair
 State Level Reform: Design/Build (December 2011); TIF Reform (April 2012); NY Works
  (April 2012)
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                                           2
 Backdrop: Toll and Fare Growth in Excess of CPI
                      Tolls & fares have reached a ceiling in this low-growth economic environment
        Tolls & fares have grown at a rate in excess of CPI and Median Household Income
                      PANYNJ Tolls vs. CPI                                                       PANYNJ Annual Tolls as % of Median
$14                                                                                                     Household Income
$12                                                                                       4.0%
$10
                                                                                          3.5%
 $8
                                                                                          3.0%
 $6
                                                                                          2.5%
 $4
                                                                                          2.0%
 $2
                                                                                          1.5%
 $0
                                                                                          1.0%




        2001
               2002
                       2003
                              2004
                                     2005
                                            2006
                                                   2007
                                                          2008
                                                                 2009
                                                                        2010
                                                                               2011
                                                                                          0.5%
                       Cash Toll
                                                                                          0.0%
                       E-ZPass Peak Toll [Roundtrip]
                       2001 EZ Pass Toll escalated with CPI
                                                                                                  2001
                                                                                                         2002
                                                                                                                2003
                                                                                                                       2004
                                                                                                                              2005
                                                                                                                                     2006
                                                                                                                                            2007
                                                                                                                                                   2008
                                                                                                                                                          2009
                                                                                                                                                                 2010
                                                                                                                                                                        2011




      PA toll increases during the past decade have                                       Tolls for PA daily commuters have increased by 50%
               outpaced inflation significantly                                               as a percentage of median household income
                                                                                                                                                                               Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 4 of 15




                                                                                      3
Backdrop: High Debt Load
 The Port Authority's Balance Sheet limits resources for projects and requires
  disciplined choices
 By end of 2012, Port Authority will have approximately $19B of total debt and liabilities
  outstanding
               As of December 31, 2011
                Assets
                Facilities, net                                   $23,870
                Other                                               $6,343
                Cash and Investments                                $3,883
                                                         Total    $34,234
                Liabilities
                Bonds and other asset financing obligations        $16,634
                Other                                               $5,224
                                                                                              Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 5 of 15




                                                         Total     $21,858
Dollars in millions; 2012 Preliminary Budget

                                               4
 Key Agency Initiatives and Reforms
 New leadership is focused on a return to core mission for the agency
     Focus on Transportation Infrastructure
     Significant increase in WTC financial and operating controls
     World Trade Center Peace Dividend
     Changes in Senior Leadership
 Agency has implemented reforms over the past six months
     Navigant Phase 1 Report: Top to Bottom Management Review
     Focus on Capital Plan Initiatives: PPPs, Permitting
     Compensation and Benefits Reform: reduction in costs of $41 million over 18 months;
      tens of millions in recurring savings annually
     Control of Soft Costs and Consultant Costs
     FOIA Reforms to Increase Transparency: 30,000 documents released
     Review Non-Core Assets for Sale: Essex County Resource Center, Teleport,
      Newark Legal Center, Industrial Parks in both States; Agreement reached to dispose
      of interest in Essex County Resource Center
     Formation of Standalone Security Department: Centralization of this Core Function
          Reform of the Port Authority Police Department
                                                                                            Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 6 of 15




     Sustainability Initiatives: WTC LEED Gold Certification; Truck Replacement Program
      at the Ports; Zero Emissions Goal at 5Stewart; New Fuel System at the Airports
                                          5
       2011-2020 Preliminary Capital Spending by Year
       ($ in millions)

      The Board authorized the first year of the $25.1B ten-year Capital Plan in December 2011.
       62% of spending occurs in the next 5 years.

                                                                        The Port Authority of New York and New Jersey
                                                                             $25.1B Capital Spending - 2011-2020
                                                                                         ($ in millions)

                                 Count         2011           2012          2013          2014           2015       2016        2017        2018        2019         2020        2011-2020
Line Deparments:
  Aviation                           422   $     306 $           452 $        1,103 $       1,396 $         853 $       571 $      601 $       489 $       291 $        449      $     6,511
  PATH                               129         403             351            327           289           299         375        357         278         257          121            3,057
  Port Commerce                      101         186             346            301           177           157         113        126         113          83           87            1,688
  TB&T                               232         188             626            756           923           945       1,023        713         574         459          506            6,713
Line Departments Total               884       1,082           1,775         2,486         2,784          2,254      2,082       1,797       1,455       1,090        1,162          17,968
Regional and Development              16             54          123           178           168            166        133         116          16             16           12          982
Capital Infrastructure Fund            1             30          -             -             -              -           85         220         220         220          217             992
World Trade Center*                   22       1,944           2,001         1,445         1,342            101         50          17             2       -            -             6,902
Provision for Efficiency & Phasing               -              (246)         (444)         (494)          (192)       (162)       (133)       (104)       -            -             (1,775)
Agency Total                         923   $ 3,110        $    3,653    $    3,665    $    3,800     $    2,329    $ 2,188     $ 2,018     $ 1,590     $ 1,326      $ 1,391      $ 25,070
                                                                                                                                                                                          Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 7 of 15




                                                                                                 6
   2011-2020 Preliminary Spending by Category
   ($ in thousands) - $25.1 Billion
                                                             REVENUE PRODUCING: Projects which yield a
    State and                                                 positive financial return to the Port Authority (e.g. JFK
    Regional                                                  TWA Flight Center Renovation)
    Programs
                                 Mandatory
       8%
                                   17%
                                                             STATE OF GOOD REPAIR: Necessary to maintain
                                                              the continued functioning of Port Authority assets (e.g.
                                                              GWB Suspender Ropes Project)

        State of Good                   Revenue
            Repair
                                                             MANDATORY: Required by law, governmental rule or
                                       Producing
             36%                          21%
                                                              regulation (e.g. JFK Runway 13L Runway Safety Area
                                                              Improvements)

                           System                            SECURITY: Projects that are necessary to meet the
                        Enhancement          Security         Agency’s Security Plan (e.g. Bollard Projects)
                            12%                6%

                                                             SYSTEM ENHANCEMENT: Projects that provide
                                                              system enhancements, improved customer service
 Significant portion of the Capital Plan                     levels, and/or regional benefits (e. g. PATH Railcars)
  addresses SGR, with 36% of funds going to
  those projects; only 21% of projects yield a               STATE AND REGIONAL: Projects which advance the
  financial return to the agency.                             objectives of the Port Authority but unlike other
                                                                                                                    Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 8 of 15




                                                              projects, are not operated by the Port Authority



                                                        7
2011-2020 Preliminary Spending by Line Department
($ in thousands) - $25.1 Billion
 While Aviation and Tunnels, Bridges and Terminal (TB&T) Departments have
  approximately equal shares of capital investment over the next ten years, Aviation is
  expected to contribute 54% of gross operating revenues in 2012 and TB&T, 34%.


   Capital Spending By Line Department           2012 Revenues By Line Department
                                                                                          Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 9 of 15




                                            8

                                            8
 2011-2020 Preliminary Spending by Stage
 ($ in thousands) - $25.1 Billion

                                                                             CONSTRUCTION: Begin construction
$12,000,000                                                                   and monitor schedule/cost, Certify
                                                                              Completed Construction
$10,000,000


 $8,000,000                                                                  FINAL DESIGN: Finalization of
                                                                              Contract Documents, Procurement
 $6,000,000                                                                   Process

 $4,000,000
                                                                             PRELIMINARY DESIGN: Continue
                                                                              Design, Value Engineering
 $2,000,000


        $0                                                                   CONCEPTUAL DESIGN: Project
              Planning   Conceptual Preliminary Final Design Construction     Scope Definition, Order of Magnitude
                           Design     Design
                                                                              Estimates and Preliminary Schedules

  The largest category of spending is on projects already
                                                            PLANNING: Identify needs, assess
   in the construction phase.                                feasibility
                                                                                                                 Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 10 of 15




                                                           9
2011-2020 Prelim. Capital Spending – Major Projects
($ in millions )
                                                        2011-2020          TPC
 Major Projects:
  Lincoln Tunnel Access Projects                        $    1,800     $     1,800
  Lincoln Tunnel Helix Replacement (Not Rehab)                 139           1,497
  LGA CTB Terminal*                                          1,080           1,358
  Bayonne Bridge Navigational Clearance                      1,278           1,281
  GWB Suspender Rope Replacement                               544           1,037
  Newark Liberty Terminal A*                                   817             839
  PATH Signal Replacement Program                              498             498
  JFK Rehabilitation of Runway 4L-22R                          463             463
  Goethals Bridge Modernization**                              294             350
  PATH Tunnel Mitigation                                       254             254
  JFK Delta T3/T4 Development                                  215             215
  LGA Runway 4 and 31 Safety Deck Overrun                      179             179
 Major Projects Total                                   $    7,382     $     9,591

 *Does not include full funding for build out of LaGuardia CTB and Newark Liberty
 Terminal A Modernization Programs, which are expected to be privately financed
 via PPP.
 ** $296 million for the Goethals Bridge is for real estate acquistion
                                                                                          Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 11 of 15




 and advisory/other services. Remainder is expected to be privately financed via a PPP.


                                             10
   Major Project Highlights
              LAGUARDIA CTB                                  GEORGE WASHINGTON BRIDGE
              REDEVELOPMENT                                      SUSPENDER ROPES
• Redevelopment to meet projected traffic                • Project will replace all 592 suspender ropes
  demand of 17 million annual passengers.                  and includes rehabilitation of main cable,
  Central electrical substation on fast track for          handrails, necklace lighting, security
  construction in 2012. Capital Plan only funds            enhancements and upper level sidewalks.
  $1.3B of the total estimated $3.6B cost.               • Estimated time frame 2014-2022
• Estimated time frame 2017-2021                         • Jobs: 3,600 construction jobs
• Jobs: over 3,000 construction jobs
                                                                                                          Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 12 of 15




                                                    11
   Major Project Highlights
            GOETHALS BRIDGE                                        BAYONNE BRIDGE
             MODERNIZATION                                     NAVIGATIONAL CLEARANCE
• Replacement of the functionally obsolete bridge        • $1.2 B project to raise the bridge roadway from
  with a six-lane bridge. Capital Plan only funds          existing 151 feet to 215 feet to provide
  legal, real estate, and engineering resources.           navigational clearance for larger containerships
  The agency is pursuing a Private Public                  as a result of the Panama Canal Expansion.
  Partnership for this $1.5B project.                    • Estimated time frame: 2013-2016
• Estimated time frame: 2013-2018                         Jobs: 2,800 construction jobs
• Jobs: 2,258 construction jobs                           Under TB&T but a Port initiative
                                                                                                              Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 13 of 15




                                                    12
Overall Capital Program Initiatives
 World Trade Center peace dividend and renewing agency focus on better and speedy
  delivery of capital projects

 Navigant Phase I Report on the Capital Program

 More focused Contract Administration

 Focusing on eliminating or reducing soft costs (design, staff and overhead costs) with a
  goal of reducing 25% through internal controls. Current average soft costs at the agency
  range anywhere from 25% to 50%, including capitalized interest.

 Participating in federal initiatives to improve the environmental permitting process. The
  Port Authority was the first in the country to request the Bayonne Bridge project be on
  the list for project of national significance, which aims to prioritize federal permitting for
  these projects.

 Seeking greater participation in Public Private Partnerships where it fits. Actively
  pursuing PPP for Goethals Bridge Replacement. Strong response to Request for
                                                                                                   Case 1:11-cv-06746-RKE-HBP Document 151-13 Filed 08/21/15 Page 14 of 15




  Information (RFI) for LaGuardia CTB Redevelopment.
                                               13

                                               13
Delivering Major Projects On Time and On Budget
 Centralized Capital Program Office to enhance accountability and ensure best practices

 Establishment of Baselines

 Milestone management with executive reporting on red flags (CPOC)

 Phased Integrated Capital Management System roll-out to increase data integrity

 Quality Assurance/Quality Control

 Risk Assessments on all major projects and development of risk mitigation plans

 Potential contractual incentives for certain elements of major projects
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                                            14
